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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,
                                                     Case No. 98-80994
          Plaintiff-Respondent,
                                                     Honorable Nancy G. Edmunds
v.

KENNAN LEWIS WELLS,

          Defendant-Petitioner.
                                         /

     ORDER GRANTING THE GOVERNMENT’S MOTION TO STAY LITIGATION [113]

       This matter comes before the Court on the Government’s motion to stay litigation

pending the Supreme Court’s decision in Beckles v. United States, No. 15-8544. For the

reasons stated below, the motion to stay is GRANTED.

       On May 17, 2000, Defendant was convicted of one count of conspiracy with intent to

distribute a controlled substance in violation of 21 U.S.C § 846. He was sentenced by the

Court to a term of 262 months, with an increased offense level based on a prior "crime of

violence" conviction, as defined under § 4B1.2(a) of the United States Sentencing

Guidelines.

       On November 18, 2016, Defendant filed a motion to vacate his sentence under 28

U.S.C. § 2255. (Dkt. 109). Defendant argues that his sentence must be vacated in light of

the Supreme Court’s recent holding in Johnson v. United States, 135 S. Ct. 2551 (2015).

In Johnson, the Supreme Court invalidated the violent crime residual clause of 18 U.S.C.

§ 924(e) as unconstitutionally vague. Defendant argues that Johnson applies to the

identically-worded residual clause of the Sentencing Guidelines, § 4B1.2(a)(2). Although
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the Sixth Circuit has extended Johnson to § 4B1.2(a)(2) of the Guidelines, see United

States v. Pawlak, 822 F.3d 902 (6th Cir. 2016), it recently acknowledged that it is not clear

whether to treat its decision in Pawlak as applying retroactively on collateral review. See

In re: Embry, 831 F.3d 377 (6th Cir. 2016) . Because the Supreme Court "has agreed to

resolve the point [this]Term in Beckles v. United States, No. 15-8544," the Sixth Circuit has

asked district courts to hold these cases in abeyance pending the Supreme Court’s

decision in Beckles. Id. at 382 ("it makes the most sense to . . . ask the district courts to

hold the cases in abeyance pending the Supreme Court's decision in Beckles.")

     Accordingly, the Court follows the Sixth’s Circuit’s guidance and GRANTS the

Government’s motion to stay. The case is HEREBY STAYED pending the decision in

Beckles.

     SO ORDERED.


                     S/Nancy G. Edmunds
                     Nancy G. Edmunds
                     United States District Judge

Dated: January 31, 2017

I hereby certify that a copy of the foregoing document was served upon counsel of
record on January 31, 2017, by electronic and/or ordinary mail.

                     S/Carol J. Bethel
                     Case Manager




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